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                                      UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF MICHIGAN




IN RE:   PEGGY A GALLANDT                                                    CASE NO: GL-19-03789
         PO BOX 4604                                                         Chapter 13
         EAST LANSING, MI 48826                                              HON. JOHN T GREGG
                                                                             Filed: September 05, 2019

                                                                             Confirmed:   December 03, 2019




                        TRUSTEE'S MOTION TO DISMISS CHAPTER 13 CASE
         NOW COMES, Barbara P. Foley, Chapter 13 Trustee ("Trustee") and files her Motion to Dismiss for the

following reasons:

         FAILURE TO PROVIDE THE TRUSTEE WITH AMENDED SCHEDULES I AND J AND CURRENT PAY
         DOCUMENTATION WITHIN 45 DAYS OF THE ANNIVERSARY OF THE CONFIRMATION DATE AS
         REQUIRED BY 11 U.S.C. 521(F)(4)(B). FAILURE TO REMIT ALL DISPOSABLE INCOME TO THE
         TRUSTEE AS REQUIRED BY PARAGRAPH IV.A. OF THE CONFIRMED PLAN, WHICH CONSTITUTES
         A MATERIAL DEFAULT PURSUANT TO 11 U.S.C. 1307(c)(6).

         WHEREFORE, your Trustee respectfully prays:

         A. That this Court enter an Order dismissing the Debtor 's Chapter 13 Case.

         B. That this Court grant such other relief as it finds just and equitable.

         C. Upon dismissal of the Chapter 13 case, the Trustee has cause pursuant to 11 U.S. C. § 349(b) and

             may retain any funds on hand for such time as is necessary to accommodate the dishonor or recall

             period appropriate to the method of payment received.



February 17, 2021                                                    /s/ Barbara P. Foley
                                                                    Barbara P. Foley (P34558)
                                                                    CHAPTER 13 TRUSTEE
                                                                    Po Box 51109
                                                                    Kalamazoo, MI 49005
                                                                    (269)343-0305

This document has been electronically filed with the Court and the Attorney for Debtor and mailed to the Debtor.

Attorney for Debtor:

         SAVAGE LAW PLC
         1483 HASLETT RD
         HASLETT, MI 48840
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                                      UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF MICHIGAN



PEGGY A GALLANDT                                                             CASE NO: GL-19-03789
PO BOX 4604                                                                  Chapter 13
EAST LANSING, MI 48826                                                       HON. JOHN T GREGG
                                                                             Filed: September 05, 2019
                                      NOTICE OF MOTION TO DISMISS

        NOTICE IS HEREBY GIVEN that the Chapter 13 Trustee has filed a Motion to Dismiss in the above

captioned proceeding. A copy of said Motion is attached to this Notice.

        Your rights may be affected. You should read these papers carefully and discuss them with your

attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult

one.)

          The Debtor may file a written objection to the Trustee 's Motion to Dismiss with:




Clerk of the Bankruptcy Court                                      Barbara P. Foley
One Division Avenue N                                              Chapter 13 Trustee
                                                  AND
Room 200                                                           Po Box 51109
Grand Rapids, MI 49503                                             Kalamazoo, MI 49005
                                                                   (269)343-0305

        In compliance with Local Bankruptcy Rule 9013(d) and Federal Rules of Bankruptcy Procedure 9013 and

9014, said written objection shall be filed within thirty (30) days from the date of service of the Trustee 's Motion. If

an objection is filed, a hearing will be held on May 18, 2021 at 9:00 am at the Bankruptcy Court, 315 W. Allegan,

Room 101, U.S. Post Office & Courthouse, Lansing, Michigan. If a proper objection is not timely filed the Trustee

may file with the Court an Affidavit of No Response together with a proposed Order to Dismiss. The Court shall

enter the Order without a hearing upon receipt of the Affidavit.



Served by: BJH       on: 02/17/2021
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                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF MICHIGAN




IN RE:    PEGGY A GALLANDT                                      CASE NO: GL-19-03789
                                                                Chapter 13
                                                                HON. JOHN T GREGG
                                                                Filed: September 05, 2019

                                    PROOF OF SERVICE

     On the date below, I mailed a copy of the TRUSTEE'S MOTION TO DISMISS by regular
first class mail to Debtor and electronic service on Debtor's Attorney .

PEGGY A GALLANDT
PO BOX 4604
EAST LANSING, MI 48826
SAVAGE LAW PLC
1483 HASLETT RD
HASLETT, MI 48840
    I declare that the above statements are true to the best of my information , knowledge, and
belief.


Dated:    February 17, 2021                            /s/ Beckie Hadley
                                                       Assistant to Barbara P. Foley
                                                       Chapter 13 Trustee
                                                       PO BOX 51109
                                                       KALAMAZOO, MI 49005
                                                       (269)343-0305
